Case 2:05-cr-00222-WFN   ECF No. 157   filed 09/12/06   PageID.402 Page 1 of 6
Case 2:05-cr-00222-WFN   ECF No. 157   filed 09/12/06   PageID.403 Page 2 of 6
Case 2:05-cr-00222-WFN   ECF No. 157   filed 09/12/06   PageID.404 Page 3 of 6
Case 2:05-cr-00222-WFN   ECF No. 157   filed 09/12/06   PageID.405 Page 4 of 6
Case 2:05-cr-00222-WFN   ECF No. 157   filed 09/12/06   PageID.406 Page 5 of 6
Case 2:05-cr-00222-WFN   ECF No. 157   filed 09/12/06   PageID.407 Page 6 of 6
